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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                              (Northern Division)


JOHN H. MACSHERRY, JR.,

                Plaintiff,

v.                                                 Civil Action No. 1:15CV22
                                                                     (STAMP)
SPARROWS POINT, LLC,
COMMERCIAL DEVELOPMENT
COMPANY, INC. and
MICHAEL ROBERTS,

                Defendants.


                             AMENDED ORDER OF JUDGMENT

        Having considered the Motion to Alter or Amend Judgment or, in

the Alternative, For A New Trial On Damages (ECF No. 171) filed by

defendants, Sparrows Point LLC, Commercial Development Company,

Inc.,     and     Michael    Roberts     (collectively,   “defendants”),      and

opposition thereto, it is this 12th day of February, 2019, hereby:

        ORDERED, that the Order of Judgment dated July 16, 2018 (ECF

No. 160) be, and hereby is, AMENDED as set forth in this Order; and

it is

        ORDERED, that judgment be, and the same hereby is, ENTERED in

favor of plaintiff John H. Macsherry and against defendants,

jointly and severally, in the amount of $1,000,000.00 for violation

of the Maryland Wage Payment and Collection Law, which amount

consists     of    $825,000.00     for   a   commission   and   $175,000.00   in

additional damages, and that defendants shall bear the costs of

this action and post-trial interest in the amount of 2.33 percent

shall accrue.
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     IT IS SO ORDERED.

     The Clerk is DIRECTED to transmit a copy of this order to

counsel of record herein.

     DATED:     February 12, 2019



                                  /s/ Frederick P. Stamp, Jr.
                                  FREDERICK P. STAMP, JR.
                                  UNITED STATES DISTRICT JUDGE




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